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 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
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11
       Chris Langer,                              Case No.

12               Plaintiff,
                                                  Complaint For Damages And
13        v.                                      Injunctive Relief For Violations
                                                  Of: American’s With Disabilities
14      Cash Plus, Inc., a California             Act; Unruh Civil Rights Act
        Corporation. and Does 1-10,
15               Defendants.
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18
19         Plaintiff Chris Langer (“Plaintiff”) complains of Cash Plus, Inc., a
20   California Corporation; and Does 1-10 (“Defendants”), and alleges as follows:
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        PARTIES:
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        1. Plaintiff is a disabled individual and a member of a protected class of
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     persons under the Americans with Disabilities Act. Plaintiff suffers from
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     Delayed Endolymphatic Hydrops (DEH) which has caused permanent partial
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     hearing loss. He utilizes a variety of assistive listening devices in his day to day
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     life, including hearing aids and headphones to compensate, though this still
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 1   does not enable him to receive complete aural communication. When
 2   consuming audio content such as movies or tutorials on the internet he turns
 3   on closed captioning in order to comprehend all of the content.
 4      2. Defendant Cash Plus, Inc., (“Cash Plus”) owned or operated the Cash
 5   Plus, Inc. Stores located throughout California, including stores in San Diego
 6   County and Orange County, in August 2020.
 7      3. Defendant Cash Plus, Inc. owns and/or operates the Cash Plus, Inc.
 8   Stores located throughout California, including stores in San Diego County
 9   and Orange County currently.
10      4. Defendant Cash Plus, Inc. owned or operated the Cash Plus, Inc.
11   website, with a root domain of: cashplusinc.com, and all related domains, sub-
12   domains and/or content contained within it, (“Website”) in August 2020.
13      5. Defendant Cash Plus, Inc. owns or operates the Website currently.
14      6. Plaintiff does not know the true names of Defendants, their business
15   capacities, their ownership connection to the property and business, or their
16   relative responsibilities in causing the access violations herein complained of,
17   and alleges a joint venture and common enterprise by all such Defendants.
18   Plaintiff is informed and believes that each of the Defendants herein,
19   including Does 1 through 10, inclusive, is responsible in some capacity for the
20   events herein alleged, or is a necessary party for obtaining appropriate relief.
21   Plaintiff will seek leave to amend when the true names, capacities,
22   connections, and responsibilities of the Defendants and Does 1 through 10,
23   inclusive, are ascertained.
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27      JURISDICTION & VENUE:
28      7. The Court has subject matter jurisdiction over the action pursuant to 28


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 1   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
 2   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. (“ADA”)
 3      8. This court has supplemental jurisdiction over Plaintiff’s non-federal
 4   claims pursuant to 28 U.S.C. § 1367 because Plaintiff’s Unruh claims are
 5   formed from the same case and/or controversy and are related to Plaintiff’s
 6   ADA claims. A violation of the ADA is a violation of Unruh. (Cal. Code §51(f).
 7      9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b). Defendant
 8   is subject to personal jurisdiction in this District due to its business contacts
 9   with the District.
10
11      FACTUAL ALLEGATIONS:
12      10. Plaintiff suffers from hearing loss and is a member of a protected class
13   under the ADA.
14      11. Plaintiff relies on subtitles and closed captioning to hear audio in
15   recorded content.
16      12. Cash Plus operates “brick and mortar” facilities throughout California,
17   open to the public, places of public accommodation, and business
18   establishments.
19      13. Cash Plus offers videos on its Website to induce customers to purchase
20   its goods and to provide ideas on how to best use them. Websites and videos
21   are some of the facilities, privileges, or advantages offered by Defendants to
22   patrons of Cash Plus.
23      14. Plaintiff was a prospective customer who wished to access Defendant’s
24   goods and services.
25      15. Plaintiff visited the Website in August 2020 to look for information
26   about the company, its products and services.
27      16. When Plaintiff attempted to view video content on the Website, he
28   discovered that the videos describing Defendants services lacked closed


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 1   captioning, which made him unable to fully understand and consume the
 2   contents of the videos.
 3      17. Plaintiff experienced difficulty and discomfort in attempting to view
 4   videos. As a result of this inaccessibility he was deterred from further use of
 5   the Website.
 6      18. Currently, the Defendants either fail to provide an accessible website or
 7   Defendants have failed to maintain in working and useable conditions those
 8   website features required to provide ready access to persons with disabilities.
 9      19. Despite multiple attempts to access the Website using Plaintiff’s
10   computer, Plaintiff has been denied the full use and enjoyment of the facilities,
11   goods and services offered by Defendants as a result of the accessibility
12   barriers.
13      20. Plaintiff personally encountered accessibility barriers and has actual
14   knowledge of them.
15      21. By failing to provide an accessible website, the defendants denied
16   Plaintiff full and equal access to the facilities privileges or advantages offered
17   to their customers.
18      22. Plaintiff has been deterred from returning to the website as a result of
19   these prior experiences.
20      23. The failure to provide accessible facilities created difficulty and
21   discomfort for the Plaintiff.
22      24. If the Website had been constructed equally accessible to all individuals,
23   Plaintiff would have been able to navigate the website and avail himself of its
24   goods and/or services.
25      25. Additionally, Plaintiff is a tester in this litigation and seeks future
26   compliance with all federal and state laws. Plaintiff will return to the Website
27   to avail himself of its goods and/or services and to determine compliance with
28   the disability access laws once it is represented to him that the Cash Plus, Inc.


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 1   and Website are accessible.
 2      26. Plaintiff is currently deterred from doing so because of Plaintiff’s
 3   knowledge of the existing barriers and uncertainty about the existence of yet
 4   other barriers on the Website. If the barriers are not removed, Plaintiff will
 5   face unlawful and discriminatory barriers again.
 6      27. The barriers identified above violate easily accessible, well-established
 7   industry standard guidelines for making digital content accessible to people
 8   with hearing-impairments to access websites. Given the prevalence of
 9   websites that have implemented these standards and created accessible digital
10   content, it is readily achievable to construct an accessible website without
11   undue burden on Cash Plus, Inc. or a fundamental alteration of the purpose of
12   the Website.
13      28. Compliance with W3C Web Content Accessibility Guidelines
14   (“WCAG”) 2.0 AA standards are a viable remedy for these deficiencies and a
15   standard that has been adopted by California courts for website accessibility.
16      29. It’s been established that failure to remove inaccessible website
17   conditions violates the ADA and California law and requiring compliance with
18   industry access standards is a remedy available to the plaintiff.
19      30. The website content was intentionally designed, and based on
20   information and belief, it is the Defendants’, policy and practice to deny
21   Plaintiff access to the website, and as a result, deny the goods and services that
22   are otherwise available to patrons of Cash Plus.
23      31. Due to the failure to construct and operate the website in line with
24   industry standards, Plaintiff has been denied equal access to Defendant’s
25   stores and the various goods, services, privileges, opportunities and benefits
26   offered to the public by Cash Plus.
27      32. Closed captioning can be provided at little cost, sometimes free or mere
28   dollars per minute of video content.


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 1      33. Given the nature of the barriers and violations alleged herein, the
 2   plaintiff alleges, on information and belief, that there are other violations and
 3   barriers on the Website that relate to his disability. In addition to the barriers
 4   he personally encountered, Plaintiff intends to seek removal of all barriers on
 5   the Website that relate to his disability. See Doran v. 7-Eleven (9th Cir. 2008)
 6   524 F.3d 1034 (holding that once a plaintiff encounters one barrier, they can
 7   sue to have all barriers that relate to their disability removed regardless of
 8   whether they personally encountered the barrier).
 9      34. Plaintiff will amend the complaint, to provide further notice regarding
10   the scope of the additional demanded remediation in the event additional
11   barriers are uncovered through discovery. However, please be on notice that
12   the plaintiff seeks to have all barriers related to his disability remedied.
13
14   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
15   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
16   Defendants.) (42 U.S.C. section 12101, et seq.)
17      35. Plaintiff re-pleads and incorporates by reference, as if fully set forth
18   again herein, the allegations contained in all prior paragraphs of this
19   complaint. Defendant is a public accommodation with the definition of Title
20   III of the ADA, 42 USC § 12181.
21      36. The website provided by the Defendant is a service, privilege or
22   advantage of Cash Plus’ brick and mortar facility.
23      37. When a business provides services such as a website, it must provide an
24   accessible website.
25      38. Here, access to an accessible website has not been provided. A failure to
26   provide an accessible website is unlawful discrimination against persons with
27   disabilities.
28      39. Under the ADA, it is an act of discrimination to fail to ensure that the


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 1   privileges, advantages, accommodations, facilities, goods and services of any
 2   place of public accommodation is offered on a full and equal basis by anyone
 3   who owns, leases, or operates a place of public accommodation. See: 42 U.S.C.
 4   § 12182(a). Discrimination is defined, inter alia, as follows: “A failure to make
 5   reasonable modifications in policies, practices, or procedures, when such
 6   modifications are necessary to afford goods, services, facilities, privileges,
 7   advantages, or accommodations to individuals with disabilities, unless the
 8   accommodation would work a fundamental alteration of those services and
 9   facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).”
10      40. Here, the failure to ensure that the accessible facilities were available
11   and ready to be used by the plaintiff is a violation of the law.
12      41. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights
13   set forth and incorporated therein, Plaintiff requests relief as set forth below.
14
15   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
16   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
17   Code § 51-53.)
18      42. Plaintiff repleads and incorporates by reference, as if fully set forth
19   again herein, the allegations contained in all prior paragraphs of this
20   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
21   that persons with disabilities are entitled to full and equal accommodations,
22   advantages, facilities, privileges, or services in all business establishment of
23   every kind whatsoever within the jurisdiction of the State of California. Cal.
24   Civ. Code §51(b).
25      43. The Unruh Act provides that a violation of the ADA is a violation of the
26   Unruh Act. Cal. Civ. Code § 51(f).
27      44. Defendants’ acts and omissions, as herein alleged, have violated the
28   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s


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 1   rights to full and equal use of the accommodations, advantages, facilities,
 2   privileges, or services offered.
 3        45. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
 4   discomfort or embarrassment for the plaintiff, the defendants are also each
 5   responsible for statutory damages, i.e., a civil penalty. Cal. Civ. Code §
 6   55.56(a)-(c).
 7        46. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights
 8   set forth and incorporated therein, Plaintiff requests relief as set forth below.
 9            PRAYER:
10            Wherefore, Plaintiff prays that this Court award damages and provide
11   relief as follows:
12         1. A Declaratory Judgment that at the commencement of this action
13   Defendants were in violation of the requirements of the ADA due to
14   Defendants’ failures to take action to ensure that its websites were fully
15   accessible to and independently usable by hearing-impaired individuals,
16   including providing closed-captioning on all video content containing audio
17   elements.
18         2. Pursuant to 42 U.S.C § 12181, a preliminary and permanent injunction
19   enjoining Defendants from violating the ADA with respect to its website.
20         3. Damages under the Unruh Civil Rights Act § 51 1, which provides for
21   actual damages and a statutory minimum of $4,000 for each offense.
22         4. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
23   to 42 U.S.C. § 12205; and Cal. Civ. Code § 52.
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         Note: the Plaintiff is not invoking section 55 of the California Civil Code and
28   is not seeking injunctive relief under the Disabled Persons Act at all.


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 1   Dated: August 19, 2020        CENTER FOR DISABILITY ACCESS
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                                   By:
 3
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 5                                 ______________________________
 6                                 Russell Handy, Esq.
                                   Attorney for Plaintiff
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